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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
SECURITIES AND EXCHANGE                    )
COMMISSION,                                )
                                          )
                        Plaintiff,        )
                                          )
                  v.                      )  No. 1:23-cv-01599-ABJ-ZMF
                                          )
BINANCE HOLDINGS LIMITED,                 )
BAM TRADING SERVICES INC.,                )
BAM MANAGEMENT US HOLDINGS                )
INC., AND CHANGPENG ZHAO,                 )
                                          )
                        Defendants.       )
__________________________________________)

                   PLAINTIFF SECURITIES AND EXCHANGE
             COMMISSION’S NOTICE OF SUPPLEMENTAL AUTHORITY

       Plaintiff Securities and Exchange Commission respectfully submits this Notice of

Supplemental Authority to inform the Court of a recent ruling in SEC v. Genesis Global Capital,

LLC, No. 23-cv-00287, Dkt. No. 54 (S.D.N.Y. Mar. 13, 2024), which is attached as Exhibit A.


Dated: March 14, 2024                              Respectfully submitted,

                                                   s/ Matthew Scarlato
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                                                   Jennifer L. Farer (D.C. Bar No. 1013915)
                                                   J. Emmett Murphy
                                                   David A. Nasse (D.C. Bar No. 1002567)
                                                   Jorge G. Tenreiro
                                                   Elisa S. Solomon
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